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 4
      Attorney for Defendants
 5
                                   UNITED STATES DISTRICT COURT
 6
                                          DISTRICT OF NEVADA
 7

 8     BART STREET III, a Nebraska Limited Liability       Case No.: 2:17-cv-00083-GMN-VCF
       Company,
 9
                                                           CONSENT ORDER GRANTING
10                   Plaintiff,                            SUBSTITUTION OF COUNSEL
       vs.
11
       ACC ENTERPRISES, LLC, a Nevada Limited
12     Liability Company; ACC INDUSTRIES, INC., a
       Nevada corporation; CALVADA PARTNERS,
13     LLC, a Nevada Limited Liability Company,
14
                     Defendants.
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16           Notice is hereby given that, subject to approval by the Court, Defendant ACC Enterprises,
17    LLC and ACC Industries, Inc. hereby authorize and consent to the substitution of Rory T. Kay of
18    McDonald Carano, LLP, as attorney of record in the above-entitled action, in the place and stead of
19    Daniel S. Cereghino and Thomas H. Fell of Fennemore Craig P.C., Brenoch R. Wirthlin of Hutchison
20    & Steffen and Kevin J. Hejmanowski of Leah Martin Law.
21           Contact information for new counsel is as follows:
22            Rory T. Kay, Esq. (NSBN 12416)
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                 6th           March




                                              Magistrate
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 1                                    CERTIFICATE OF SERVICE

 2            I certify that I am an employee of McDonald Carano LLP, and that on the 28th day of

 3    February, 2020, a true and correct copy of the foregoing CONSENT ORDER GRANTING

 4    SUBSTITUTION OF COUNSEL was electronically filed with the Clerk of the Court by using

 5    CM/ECF service which will provide copies to the following counsel of record registered to receive

 6    CM/ECF notification:

 7
                                            /s/ Kimberly Kirn
 8                                         An employee of McDonald Carano LLP

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